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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY



  COMMODITY FUTURES TRADING
  COMMISSION,
                                                   Civil Action No. 23-11808
                           Plaintiff,

           v.                                           ORDER OF SPECIAL MASTER

  TRADERS GLOBAL GROUP INC., et al.,

                           Defendants.


 LINARES, J.

         This matter having been brought before the Special Master for a pre-hearing conference on

 August 29, 2024 in connection with the pending Motion for Sanctions (“Motion”) (ECF 172) filed

 by Defendants Traders Global Group Inc., a New Jersey corporation, d/b/a “My Forex Funds,”

 Traders Global Group Inc., a Canadian business organization, and Murtuza Kazmi (“Defendants”);

 and counsel for Plaintiff Commodity Futures Trading Commission (“CFTC”) and counsel for

 Defendants appearing; and for the reasons set forth on the record;

         IT IS on this 30th day of August, 2024,

         ORDERED that CFTC shall provide an updated privilege log no later than September 2,

 2024; and it is further

         ORDERED that any document any party intends to use during the evidentiary hearing if

 not already in possession of the other party shall be disclosed and produced to the other party by

 September 13, 2024; and it is further




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         ORDERED after the final production by CFTC of documents responsive to Defendants’

 discovery requests with respect to the Motion, which include handwritten notes, no other

 documents shall be produced absent a showing of good cause; and it is further

         ORDERED that the evidentiary hearing scheduled on September 19, 2024 and September

 20, 2024 shall be conducted at the U.S. District Court, Frank Lautenberg Post Office and U.S.

 Courthouse, 57 Walnut Street, Newark, N.J. in Courtroom 4; and it is further

         ORDERED that Defendant shall proceed first during the evidentiary hearing and that with

 respect to the scope of testimony during the hearing, the Special Master shall not curtail cross-

 examination of witnesses with respect to other potential alleged misrepresentations not related to

 the transfer at issue that may impact veracity or credibility determinations; and it is further

         ORDERED that the parties and counsel shall conduct themselves in such a manner as to

 ensure compliance with the parameters of the Protective Order (ECF 212) and Confidentiality

 Order (ECF 191) entered in this matter.

         SO ORDERED.

                                                __/s/ Jose L. Linares_______________________

                                                Hon. Jose L. Linares, U.S.D.J. (Ret.)




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